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UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY

 

 

UNITED STATES OF AMERICA

VS. : Mag No, 20-13551

GLEN TURNER

 

CONSENT ORDER

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f; Ld. . bo it
AND NOW, to wit, this) f day of dEprse , 2021, it is hereby ORDERED
and DECREED that the Defendant, Mr. Glen Turner is permitted to visit his aunt at her home
and/or at a Hospital at addresses provided to Pretrial Services and on dates and times approved

by Pretrial Services.

BY THE COURT:

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Form and entry consented to:

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Samantha C. Fasanello, Esquire
Assistant U.S. Attorney

Koco A. Gury

Kenneth A. Young, Esquire
Counsel for Defendant Glen Turner

 

 

 
